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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

LEAGUE OF UNITED LATIN
AMERICAN CITIZENS, et al.,

               Plaintiffs,

       v.                                           Civil Action No. 25-0946 (CKK)

EXECUTIVE OFFICE OF THE
PRESIDENT, et al.,

               Defendants.

DEMOCRATIC NATIONAL
COMMITTEE, et al.,

               Plaintiffs,

       v.                                           Civil Action No. 25-0952 (CKK)

DONALD J. TRUMP, in his official
capacity as President of the United States, et
al.,

               Defendants.

LEAGUE OF WOMEN VOTERS
EDUCATION FUND, et al.,

               Plaintiffs,

       v.                                           Civil Action No. 25-0955 (CKK)

DONALD J. TRUMP, in his official
capacity as President of the United States, et
al.,

               Defendants.

      DEFENDANTS’ RESPONSE IN OPPOSITION TO LEAGUE AND LULAC
          PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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I.     INTRODUCTION

       Defendants 1 request that this Court deny League and LULAC Plaintiffs’ 2 demand for a

preliminary injunction that seeks to enjoin the implementation of President Trump’s Executive

Order, 14,248, which protects the integrity of United States elections.

       Like the DNC Plaintiffs in their Motion, Plaintiffs here likewise fail to meet the very high

bar required for the extraordinary relief they seek. A preliminary injunction is an “extraordinary

and drastic remedy” Munaf v. Geren, 553 U.S. 674, 689-90 (2008) and “must be sparingly

granted.” Sandoz, Inc. v. Food and Drug Admin., 439 F. Supp. 2d 26, 30 (D.D.C. 2006), aff’d

No. 06-5204, 2006 WL 2591087 (D.C. Cir. Aug. 30, 2006). Plaintiffs must show they are

“likely to succeed on the merits” and “likely to suffer irreparable harm in the absence of

preliminary relief[.]” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). Plaintiffs

cannot demonstrate a likelihood of success on the merits; their claims, exactly like the DNC

Plaintiffs, amount to nothing more than a politically motivated design to stop the President’s

Executive Order.

       Again like DNC Plaintiffs in their Motion, League and LULAC Plaintiffs provide no

nexus between the Presidential Executive Order and the injury that they speculate will befall

unnamed and unidentified voters. An “injury in fact” must be “concrete and particularized,”

“actual or imminent” and not “conjectural” or “hypothetical.” Lujan v. Defs. of Wildlife, 504



1
  Defendants in this Motion include the Executive Office of the President, Department of Justice,
Department of Defense, Election Assistance Commission, Federal Voting Assistance Program,
Pamela Bondi, Peter B. Hegseth, Donald L. Palmer, Thomas Hicks, Christy McCormick, J. Scott
Wiedmann, and Brianna Schletz.
2
  League and LULAC Plaintiffs include League of Women Voters Education Fund, League of
Women Voters of the United States, League of Women Voters of Arizona, Hispanic Federation,
National Association for the Advancement of Colored People, OCA – Asian Pacific American
Advocates, Asian and Pacific Islander American Vote, League of United Latin American
Citizens, Secure Families Initiative, and Arizona Students’ Association.
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U.S. 555, 560–61 (1992). It is telling that of all the Plaintiffs in this case, none are individually

named voters who claim they would be injured but for this Court’s immediate intervention. And

these Plaintiffs have thus far been unable to identify by name the voters they purport to

represent.

       The League and LULAC Plaintiffs cannot point to a single action to implement this

Executive Order that has caused harm remediable by this Court. Because their alleged harms are

hypothetical and speculative, Plaintiffs cannot establish standing to assert them. Again, this

Court cannot substitute its judgment for the Attorney General’s prosecutorial discretion in

determining whether and when to bring enforcement actions regarding the Election Day statutes.

Preliminary injunctive relief is an extraordinary remedy, and the burden lies on Plaintiffs to show

that they have a substantial likelihood of success, that they would suffer irreparable harm, and

that the balance of the equities lies in their favor. They fail at every turn. This Court should

deny League and LULAC Plaintiffs’ Motion along with the DNC Plaintiffs’ motion.

II.    BACKGROUND

             A. Executive Order 14,248

       On March 25, 2025, President Trump issued Executive Order 14,248, entitled

“Preserving and Protecting the Integrity of American Elections,” 90 Fed. Reg. 14005 (Mar. 25,

2025) (“Executive Order”; sections cited as “EO § n”). 3 The Executive Order explains that

“[f]ree, fair, and honest elections unmarred by fraud, errors, or suspicion are fundamental to

maintaining our constitutional Republic. The right of American citizens to have their votes



3
 Federal Register, Preserving and Protecting the Integrity of American Elections (Mar. 28,
2025), https://www.federalregister.gov/documents/2025/03/28/2025-05523/preserving-and-
protecting-the-integrity-of-american-elections.


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properly counted and tabulated, without illegal dilution, is vital to determining the rightful

winner of an election.” Id. § 1. “Under the Constitution, State governments must safeguard

American elections in compliance with Federal laws that protect Americans’ voting rights and

guard against dilution by illegal voting, discrimination, fraud, and other forms of malfeasance

and error.” Id. President Trump declared that “[i]t is the policy of [his] Administration to

enforce Federal law and to protect the integrity of our election process.” Id.

       For example, while “[s]everal Federal laws, including 18 U.S.C. §§ 1015 and 611,

prohibit foreign nationals from registering to vote or voting in Federal elections . . . States fail

adequately to vet voters’ citizenship, and, in recent years, the Department of Justice has failed to

prioritize and devote sufficient resources for enforcement of these provisions.” Id. In

furtherance of that policy, and specifically “[t]o enforce the Federal prohibition on foreign

nationals voting in Federal elections,” the Executive Order stated that “the Election Assistance

Commission [(“EAC”)]” “shall take appropriate action to require, in its national mail voter

registration form [(“Federal Form”)] issued under 52 U.S.C. 20508,” “documentary proof of

United States citizenship [(“DPOC”)] consistent with 52 U.S.C. 20508(b)(3).” Id. § 2(a)(i).

“Nothing in [this Executive Order]” is to “be construed to impair or otherwise affect [] the

authority granted by law to an executive department or agency, or the head thereof[.]” Id. §

1(a)(i).” And the Executive Order must “be implemented consistent with applicable law[.]” Id.

§ 11(b).

           B. Procedural History

               1. Plaintiffs’ Complaints
       On March 31, 2025, Plaintiffs League of United Latin American Citizens, Secure

Families Initiative, and Arizona Students’ Association (“LULAC Plaintiffs”) filed a complaint in

this Court challenging, inter alia, the President’s legal authority to direct EAC to require DPOC

                                                   3
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pursuant to EO § 2, under an ultra vires separation of powers constitutional claim. League of

United Latin American Citizens v. Executive Office of the President, No. 1:25-cv-00946 (D.D.C.

Mar. 31, 2025). LULAC Plaintiffs also made several other claims related to EO § 2 under the

Administrative Procedure Act (“APA”), 5 U.S.C. § 706(2), and the Paperwork Reduction Act

(“PRA”), 44 U.S.C. § 3501, et seq. On March 31, 2025, Plaintiffs Democratic National

Committee, Democratic Governors Association, DSCC, DCCC, U.S. Senate Minority Leader

Charles E. Schumer, and U.S. House of Representatives Minority Leader Hakeem S. Jeffries

(“Democratic Party Plaintiffs”) filed a complaint in this Court challenging several sections of the

Executive Order, including EO § 2, on constitutional grounds as well as under the APA and the

Privacy Act, 5 U.S.C. § 552a, and naming numerous defendants, including President Trump, the

EAC, and the EAC Commissioners. Democratic Nat’l Comm. v. Trump, No. 1:25-cv-00952

(D.D.C. Mar. 31, 2025). And on April 1, 2025, Plaintiffs League of Women Voters Education

Fund, League of Women Voters of the United States, League of Women Voters of Arizona,

Hispanic Federation, National Association for the Advancement of Colored People, OCA –

Asian Pacific American Advocates, and Asian and Pacific Islander American Vote (“League

Plaintiffs”) filed a complaint (“LWV complaint”) in this Court against President Trump, the

EAC, and the EAC Commissioners. League Of Women Voters Educ. Fund v. Trump, No. 1:25-

cv-00955 (D.D.C. Apr. 1, 2025). The League Plaintiffs challenge EO §§ 2 and 4, claiming those

sections violate federal law and seeking equitable relief.

               2. Plaintiffs’ Motion for Preliminary Injunction
       On April 7, 2025, the Non-partisan Plaintiffs filed a joint motion for preliminary

injunction. League and LULAC Plaintiffs’ Mot. for Prelim. Inj., ECF No. 34; see also League

and LULAC Plaintiffs’ Mem. In Supp. Of Mot. for Prelim. Inj., ECF No. 34-1 (“Mem.”);



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[Proposed] Order, ECF No. 34-33. Plaintiffs ask this Court to preliminarily enjoin the EAC and

its Commissioners from implementing EO § 2(a). Mem. 35.

           C. EAC Background

       The National Voter Registration Act of 1993 (“NVRA”) requires States to “accept and

use” a uniform federal form (“Federal Form”) to register voters for federal elections. 52 U.S.C.

§ 20505(a)(1). The Federal Form is developed by the EAC, a bipartisan, “independent entity,”

52 U.S.C. § 20921, created under the Help America Vote Act of 2002 (“HAVA”). Pub. L. No.

107-252, 116 Stat. 1666, 1726 (codified as amended at 52 U.S.C. §§ 20901 et seq.).

       The EAC has limited rulemaking authority and cannot issue any rule, promulgate any

regulation, or take any other action that imposes any requirement on any State or unit of local

government, except to the extent permitted under 52 U.S.C § 20508(a). 52 U.S.C. § 20929. The

EAC is statutorily required to perform the following duties:


       (1) in consultation with the chief election officers of the States, shall prescribe such
           regulations as are necessary to carry out paragraphs (2) and (3);

       (2) in consultation with the chief election officers of the States, shall develop a mail
           voter registration application form for elections for Federal office;

       (3) not later than June 30 of each odd-numbered year, shall submit to the Congress
           a report assessing the impact of this chapter on the administration of elections
           for Federal office during the preceding 2-year period and including
           recommendations for improvements in Federal and State procedures, forms,
           and       other     matters      affected     by      this    chapter;       and

       (4) shall provide information to the States with respect to the responsibilities of the
           States under this chapter.

52 U.S.C. § 20508(a). The EAC thus conducts changes to the Federal Form consistent with 52

U.S.C. § 20508(a).




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        To implement EO § 2 and add a DPOC requirement, the EAC must follow certain

statutory procedures. 52 U.S.C. § 20508(a). The EAC must first prepare an update to the

regulations to allow for new content on the form. Ex. 1, Schletz Decl. ¶ 2. Implementing new

regulations requires approval of at least three Commissioners. Ex. 1, Schletz Decl. ¶ 3; see also

52 U.S.C. § 20928. The regulations update must then follow the Administrative Procedure Act’s

(APA) notice-and-comment rulemaking procedures. Ex. 1, Schletz Decl. ¶ 4; see also 5 U.S.C. §

553. The EAC must also consult with the chief election officers of the States to prescribe the

content of the Federal Form. Ex. 1, Schletz Decl. ¶ 4; 52 U.S.C. § 20508(a)(1). This

consultation requirement may be satisfied by the public comment period provided in a notice of

proposed rulemaking. Ex. 1, Schletz Decl. ¶ 4; see also 75 Fed. Reg. 47729. Following the

public comment period, the EAC must consult with the chief election officers of the States to

develop a revised Federal Form. Ex. 1, Schletz Decl. ¶ 5; see also 52 U.S.C. § 20508(a)(2).

Following consultation, three Commissioners must then approve the issuance of a revised

Federal Form. Ex. 1, Schletz Decl. ¶ 6; 52 U.S.C. § 20928. And the EAC must comply with the

Paperwork Reduction Act requirement that the EAC submit the new form as an information

collection to the Director of the Office of Management and Budget for approval. Ex. 1, Schletz

Decl. ¶ 7; see also 44 U.S.C. § 3507(a)–(b); 90 Fed. Reg. 11159.

III.    STANDARD OF REVIEW

        “A preliminary injunction is an extraordinary and drastic remedy. It is never awarded as

of right,” Munaf, 553 U.S. at 689–90 (cleaned up) (emphasis added), and “must be sparingly

granted,” Sandoz, Inc. v. Food and Drug Admin., 439 F. Supp. 2d 26, 30 (D.D.C. 2006) (citation

omitted) (finding merely economic harm insufficient to justify injunctive relief), aff’d No. 06-

5204, 2006 WL 2591087 (D.C. Cir. Aug. 30, 2006).



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       This “very high” standard for granting injunctive relief is “very well established.” Sataki

v. Broad. Bd. of Governors, 733 F. Supp. 2d 22, 44 (D.D.C. 2010). “A plaintiff seeking a

preliminary injunction must establish that he is likely to succeed on the merits, that he is likely to

suffer irreparable harm in the absence of preliminary relief, that the balance of equities tips in his

favor, and that an injunction is in the public interest.” Winter v. Nat. Res. Def. Council, Inc., 555

U.S. 7, 20 (2008). 4

       Plaintiffs must do more than merely show the possibility of prevailing on the merits;

rather Plaintiffs must show “a substantial likelihood of success on the merits.” Food & Water

Watch, Inc. v. Vilsack, 808 F.3d 905, 913 (D.C. Cir. 2015). Plaintiffs also must establish

irreparable harm, as failure to do so is “grounds for refusing to issue a preliminary injunction,

even if the other three factors entering the calculus merit such relief.” Chaplaincy of Full Gospel

Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006). This too is a “high standard.” Id.

First, the injury “must be both certain and great; it must be actual and not theoretical.” Id. “The

moving party must show the injury complained of is of such imminence that there is a ‘clear and

present’ need for equitable relief to prevent irreparable harm.” Id. (citations omitted) (emphasis

in original). “Second, the injury must be beyond remediation.” Id.

IV.    ARGUMENT

       The Executive Order only directs agencies to act according to their normal duties and

statutory authority, and no final action has yet been taken. Therefore, Plaintiffs have not



4
  The D.C. Circuit has taken no position as to whether the “sliding scale” approach to weighing
the four factors for injunctive relief, which “allow[s] that a strong showing on one factor could
make up for a weaker showing on another,” Sherley v. Sebelius, 644 F.3d 388, 392 (D.C. Cir.
2011), has been abandoned in light of Winter. See, e.g., A.B.-B. v. Morgan, 548 F. Supp. 3d 209,
218–19 (D.D.C. 2020). Regardless, “the movant must, at a minimum, ‘demonstrate that
irreparable injury is likely in the absence of an injunction.’” Bill Barrett Corp. v. U.S. Dep’t of
Interior, 601 F. Supp. 2d 331, 334–35 (D.D.C. 2009) (quoting Winter, 555 U.S. at 22).
                                                  7
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established any injury sufficient for standing; they have not established that the President has

exceeded the scope of his power to enforce statutory requirements or that they meet any of the

other requirements for a preliminary injunction; and there is no ripe controversy. In the unlikely

event that this Court issues a preliminary injunction, the Court must require a bond.

           A. Plaintiffs Do Not Have Standing

       “Standing is a prerequisite to the existence of a ‘Case[]’ or ‘Controvers[y],’ which is

itself a precondition to the exercise of federal judicial power.” Attias v. CareFirst, Inc., 865 F.3d

620, 625 (D.C. Cir. 2017) (alterations in original) (citation omitted) (relying on Clapper v.

Amnesty Int’l. USA, 568 U.S. 398, 410-414 (2013) to find no standing where “harm could only

occur through the happening of a series of contingent events[.]”). “The ‘irreducible

constitutional minimum of standing contains three elements’: (1) injury-in-fact, (2) causation,

and (3) redressability.” Ass’n of Flight Attendants-CWA v. U.S. Dep’t of Transp., 564 F.3d 462,

464 (D.C. Cir. 2009) (citation omitted). “Thus, to establish standing, a litigant must demonstrate

a personal injury fairly traceable to the opposing party’s allegedly unlawful conduct and likely to

be redressed by the requested relief.” Nat’l Ass’n of Home Builders v. EPA, 667 F.3d 6, 11 (D.C.

Cir. 2011) (alterations and citation omitted).

       “[A] showing of standing is an essential and unchanging predicate to any exercise of

[federal court] jurisdiction.” Id. (citation omitted). That includes actions for “prospective

declaratory and injunctive relief.” Arpaio v. Obama, 797 F.3d 11, 19 (D.C. Cir. 2015); see also

Cal. Medical Ass’n v. FEC, 453 U.S. 182, 192 n.14 (1981) (“A party seeking to invoke [a

challenged statute] must have standing to raise the constitutional claim.”). Because Plaintiffs

seek “forward-looking relief,” they “must show [they are] suffering an ongoing injury or face an

immediate threat of injury.” Morgan Drexen, Inc. v. CFPB, 785 F.3d 684, 689 (D.C. Cir. 2015)



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(citation omitted). To claim standing based on alleged future harm, a plaintiff must show that the

threatened harm is “certainly impending,” or there is a “substantial risk” that the injury will

occur.” Clapper v. Amnesty Int’l. USA, 568 U.S. 398, 409, 414 n.5 (2013). This injury

requirement “helps to ensure that the plaintiff has a personal stake in the outcome of the

controversy.” Saline Parents v. Garland, 88 F.4th 298, 304 (D.C. Cir. 2023), cert. denied, 145

S. Ct. 144 (2024) (cleaned up).

       Moreover, “the law of Art[icle] III standing is built” on fundamental separation-of-

powers principles, Raines v. Byrd, 521 U.S. 811, 820 (1997) (citation omitted), and “serves to

prevent the judicial process from being used to usurp the powers of the political branches,”

Clapper, 568 U.S. at 408. Accordingly, application of Article III standing requirements must be

“especially rigorous when,” as here, “reaching the merits of the dispute would force [a court] to

decide whether an action taken by [another] branch[] of the Federal Government was

unconstitutional.” Raines, 521 U.S. at 819–20.

               1. Plaintiffs’ Alleged Harm is Neither Actual nor Imminent, nor Caused by
                  the Executive Order


       An “injury in fact” for standing purposes must be “concrete and particularized,” “actual

or imminent” and not “conjectural” or “hypothetical.” Lujan v. Defs. of Wildlife, 504 U.S. 555,

560–61 (1992). Threatened injury must be “certainly impending” or present a “substantial risk.”

Clapper, 568 U.S. at 410; id. at 414 n.5. These are high standards, and a mere “objectively

reasonable likelihood” is not sufficient. Id. at 410.

       Plaintiffs complain that Democratic voters will be disproportionately harmed by a

documentary proof of citizenship requirement to register to vote using the Federal Form, and that

they themselves will be unable to engage in their core mission of registering voters. Mem.

passim. The Executive Order itself does not add a DPOC requirement to the Federal Form; it

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acknowledges that any update must be made by the EAC. See EO § 2(a). And Plaintiffs cannot

dispute that the EAC has clear statutory authority to prescribe such forms. See 52 U.S.C. §

20508(a)(2) (the EAC “shall develop a mail voter registration application form”). Plaintiffs have

not established that the EAC has begun—let alone finished—the process to update the Federal

Form, nor have Plaintiffs established when it might do so. See Ex. 1, Schletz Decl. (describing

process). Plaintiffs’ abstract concerns—that the forms the EAC will eventually issue will “upend

nationwide election rules,” Mem. 6—are inherently speculative. 5

       Courts have repeatedly held that claimed harm based on potential agency actions that

have not yet occurred—indeed may never occur—is insufficient for Article III standing. “Article

III standing requires more than the possibility of potentially adverse regulation.” Defs. of

Wildlife v. Perciasepe, 714 F.3d 1317, 1324–25 (D.C. Cir. 2013); see also Platte River

Whooping Crane Critical Habitat Maint. Tr. v. FERC, 962 F.2d 27, 35 (D.C. Cir. 1992)

(“Allegations of injury based on predictions regarding future legal proceedings are, however,

‘too speculative to invoke the jurisdiction of an Art[icle] III Court.’” (alteration in original)

(quoting Whitmore v. Arkansas, 495 U.S. 149, 157 (1990))). For example, in United

Presbyterian Church in the U.S.A. v. Reagan, 738 F.2d 1375 (D.C. Cir. 1984) (Scalia, J.), the

D.C. Circuit rejected standing based on a claim that an executive order could lead to agencies

taking future adverse actions against them. Id. at 1378–81. Likewise, in Center for Democracy

& Technology v. Trump, 507 F. Supp. 3d 213 (D.D.C. 2020), vacated as moot sub nom. Center

for Democracy & Technology v. Biden, No. 21-5062, 2021 WL 11659822 (D.C. Cir. Aug. 9,


5
  The U.S. House of Representatives recently passed the “Safeguard American Voter Eligibility
Act” or the “SAVE Act.” H.R. 22, 119th Cong. (2025). The SAVE Act, if approved by the U.S.
Senate, would amend the NVRA to require proof of United States citizenship to register to vote
in Federal elections. Id. Thus, DPOC may be congressionally mandated in the near future.

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2021), 6 the court found that the potential that an agency would promulgate adverse regulations in

implementing an executive order was insufficient for standing, explaining: “To be sure, the

government might issue regulations that CDT does not like. But it is just as possible that it will

not. ‘Article III standing requires more than the possibility of potentially adverse regulation.’”

Id. at 223 (quoting Perciasepe, 714 F.3d at 1324–25). Plaintiffs’ claim for standing fails this

well-established case law.

       Plaintiffs not only fail to meet the first required step, but they also fail to meet the second.

Referred to interchangeably as causation or traceability, this step “examines whether it is

substantially probable that the challenged acts of the defendant, not of some third party, will

cause the particularized injury of the plaintiff.” Fla. Audubon Soc. v. Bentsen, 94 F.3d 658, 663

(D.C. Cir. 1996). Plaintiffs complain that they will not be able to register individuals who lack

documentary proof of citizenship using the Federal Form, Mem. 11, and that individuals who do

have documentary proof of citizenship will be concerned about giving their documents to

Plaintiffs. Mem. 12. The actual causes of the alleged injury, then, are individuals exercising

their own right to make decisions about whether to obtain documentary proof of citizenship,

whether to carry that proof of citizenship with them in public, whether to provide that proof of

citizenship to non-governmental third parties, and whether to register via a non-governmental

third party or via some other means. These intervening individual choices are thus not traceable

to Defendants.

                 2. Plaintiffs’ Alleged Costs Do Not Confer Standing
       When a harm is not “certainly impending,” the costs that a plaintiff incurs to avoid an

anticipated harm do not confer standing. Clapper, 568 U.S. at 416 (holding in part that plaintiffs


6
  The D.C. Circuit dismissed the appeal and vacated the judgment as moot because the President
rescinded the executive order at issue during the pendency of the appeal.
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lacked Article III standing because they failed to show the future injury was certainly

impending). “In other words, respondents cannot manufacture standing merely by inflicting

harm on themselves based on their fears of hypothetical future harm that is not certainly

impending.” Id. “If the law were otherwise, an enterprising plaintiff would be able to secure a

lower standard for Article III simply by making an expenditure based on a nonparanoid fear.”

Id. Because there is no “certainly impending” harm here (as described above), Plaintiffs’ alleged

costs and diversions of resources, Mem. 14–17, do not confer standing.

       Moreover, Plaintiffs assert injury because they will have to expend resources on public

education and updating educational materials related to voter registration, Mem. 15–17. But

Plaintiffs allege that such public education is part of their core mission. See, e.g., Mem. 11

(“Plaintiffs are nonpartisan, nonprofit organizations whose core missions and activities center

around empowering voters, safeguarding the right to vote, and promoting an accountable

democracy through voter education, public outreach, and voter registration.”). See also LWV

complaint ¶¶ 11, 13, 16, 17, 22; Proaño Decl. ¶ 13; Streyder Decl. ¶ 19; Nitschke Decl. ¶ 13–14.

Plaintiffs complain, therefore, not that they will be prevented from engaging in parts of their core

mission related to the Executive Order, but rather that they would have to spend more money on

that some parts of their core mission than they currently do. Mem. 14-17.

       The Supreme Court has recently and firmly rejected the notion that “standing exists when

an organization diverts its resources in response to a defendant’s actions.” Food and Drug

Admin. v. All. for Hippocratic Med., 602 U.S. 367, 395 (2024). If that were enough, it “would

mean that all the organizations in America would have standing to challenge almost every

federal policy that they dislike, provided they spend a single dollar opposing those policies.” Id.

Thus, the Supreme Court has distinguished (and rejected) a diversion of resources theory from



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the “unusual” situation where a defendant provided false information that directly impaired an

organization’s ability to engage in its related core business activities. Id. at 495-96

(distinguishing between the facts before the Court and the Court’s opinion in Havens Realty

Corp. v. Coleman, 455 U.S. 363 (1982)). Unlike in Havens, the Executive Order does not

directly prevent or impair Plaintiffs from engaging in their core public education activities.

Indeed, they assert that they will continue to engage in educating the public about voter

registration. Mem. 14–16. Accordingly, Plaintiffs’ diversion of resources theory fails. See also

All. for Hippocratic Med., 602 U.S. at 394 (noting that “an organization that has not suffered a

concrete injury caused by a defendant’s action cannot spend its way into standing simply by

expending money to gather information and advocate against the defendant’s action,” where

plaintiff was an advocacy organization and therefore it diverted resources to engage in a core

business activity).

                3. Plaintiffs Have Not Established Associational Standing
        An organization may establish associational standing by showing that “(a) its members

would otherwise have standing to sue in their own right; (b) the interests [the organization] seeks

to protect are germane to the organization’s purpose; and (c) neither the claim asserted nor the

relief requested requires the participation of individual members in the lawsuit.” Hunt v.

Washington State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977). “[A]ll three requirements

are jurisdictional, and unless each is satisfied . . . associational standing is not a valid basis for a

federal court’s exercise of subject-matter jurisdiction over the case.” Travelers United, Inc. v.

Hyatt Hotels Corp., — F. Supp. 3d —, 2025 WL 27162, *12 (D.D.C. 2025) (citation omitted);

see also Arpaio v. Obama, 797 F.3d 11, 19 (D.C. Cir. 2015)).

        Three plaintiff organizations assert associational standing: League of United Latin

American Citizens (LULAC), Secure Families Initiative (SFI), and Arizona Students’

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Association (ASA). See Mem. at 32–33 (making claims for associational standing based on

declarations submitted from the three organizations). However, they entirely fail to show that

their members would have standing to sue in their own right. Indeed, they make no showing at

all that any individual member has been or will be injured, instead relying on general and

formulaic statements from persons representing the organizations. See, e.g., Proaño Decl. ¶ 30

(“LULAC members across the country . . . rely on the Federal Form to register to vote without

undue burden.”); Streyder Decl. ¶ 9 (SFI members “likely” use the Federal Form); Nitschke

Decl. ¶ 7 (“[M]any ASA members . . . lack DPOC, and therefore will be unable to register to

vote because of the requirement.”).

       These allegations are insufficient to confer jurisdiction. Indeed, a court cannot simply

“accept[] the organization’s self-description of the activities of its members” and determine that

“there is a statistical probability that some of those members are threatened with concrete

injury.” Summers v. Earth Island Inst., 555 U.S. 488, 497 (2009) (rejecting the dissent’s

proposal). Accepting such claims would “make a mockery” of Supreme Court precedent

“requir[ing] plaintiff-organizations to make specific allegations establishing that at least one

identified member had suffered or would suffer harm.” Id. at 498. The “requirement of naming

the affected members has never been dispensed with in light of statistical probabilities, but only

where all the members of the organization are affected by the challenged activity.” Id. at 498–

99. “In part because of the difficulty of verifying the facts upon which such probabilistic

standing depends, the Court has required plaintiffs claiming an organizational standing to

identify members who have suffered the requisite harm[.]” Id. at 499.

       In Travelers United v. Hyatt Hotels Corp., — F. Supp. 3d —, 2025 WL 27162 (D.D.C.

2025), this Court held that the plaintiff failed to establish associational standing in a case for



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injunctive relief because it did not establish that any member had standing in his or her own

right. Id. at *15. In particular, because the plaintiff had sued a hotel chain, plaintiff would have

needed to name even one member who had a specific plan to book a hotel room at that chain at a

definite point in the future. Id.; see also Lujan, 504 U.S. at 564 (holding that generalized “‘some

day’ intentions—without any description of concrete plans, or indeed any specification of when

the some day will be—do not support a finding of the ‘actual or imminent’ injury” that is

necessary to show Article III standing). In this case, that means that Plaintiffs—at the very

least—must name a member without qualifying documentary proof of citizenship and with a

specific plan to register to vote using the Federal Form at a definite point in the future.

        In addition to failing to establish that any members would have standing in their own

right, plaintiff organizations in this case also fail to establish that the relief requested does not

require the participation of individual members in the lawsuit. In Travelers United, this Court

held that plaintiffs could have done this by filing affidavits or declarations from some members

establishing the requisite standing, but instead the plaintiff had “not alleged or shown that

anyone, let alone any of its own members, plan[ned] to book a Hyatt hotel room in the future.”

2025 WL 27162, at *15. Absent “any indication that any of [plaintiff’s] members have standing

to pursue injunctive relief,” the court would “eventually need to consider additional, member-

specific facts to determine whether at least one member has standing to seek injunctive relief.”

Id. at *16. As the court recognized, this created a significantly different situation from other

cases “in which courts have allowed organizations to pursue non-monetary relief on behalf of

their individual members,” because at least one member declaration had been filed in those




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cases. 7 Id. Because organizational Plaintiffs here have not filed any declarations making the

required showings, they have not established associational standing.

       Plaintiffs support their motion for preliminary injunction without a single declaration

from one of their members. Accordingly, because LULAC, SFI, and ASA submit only

generalized declarations that do not establish that any one of their members have standing to sue

in their own right, because they therefore are not in a position to establish that their claims

asserted or relief requested do not require the participation of individual members in the lawsuit,

the three organizations have not established associational standing.

           B. Preliminary Injunction

               1. Likelihood of Success on Merits
       Plaintiffs are unlikely to succeed on the merits because they have failed to establish

standing or ripeness, see infra, and this Court accordingly need not address the substance of their

claims. Church v. Biden, 573 F. Supp. 3d 118, 136 (D.D.C. 2021) (citing Elec. Priv. Info. Ctr. v.

Pres. Adv. Comm. on Election Integrity, 878 F.3d 371, 375 n.2 (D.C. Cir. 2017) (affirming denial

of preliminary injunction where plaintiff failed to show substantial likelihood of standing)); see

also Munaf, 553 U.S. at 690 (noting that “[a] difficult question as to jurisdiction” makes success

on the merits “more unlikely due to potential impediments to even reaching the merits”

(emphasis in original)). “[T]he ‘merits’ on which plaintiff must show a likelihood of success


7
  One of the cases distinguished by the Travelers United court is relied on by plaintiffs.
Compare Mem. 33 n.26 (citing Center for Sustainable Economy for the principle that individual
members need not participate in the lawsuit individually) with Travelers United, 2025 WL 27162
at *16 (“For example, in Center for Sustainable Economy v. Jewell, 770 F.3d 588 (D.C. Cir.
2015), the D.C. Circuit held that an organization had associational standing to seek invalidation
of an agency action where the plaintiff organization had already filed declarations by two of its
members describing those members’ ongoing interests in the places affected by the challenged
action. Id. at 596-96. [sic] The court concluded that those declarations established that the
individual members had standing to sue “in their own right,” supporting the organization’s
associational standing. Id.”)
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encompass not only substantive theories but also establishment of jurisdiction.” Obama v.

Klayman, 800 F.3d 559, 565 (D.C. Cir. 2015) (opinion of Williams, J.) (citation omitted)

(holding that speculation of future scope of and motive for defendants’ actions does not create

standing). Because Plaintiffs lack standing under any theory, they are “ipso facto unlikely to

succeed.” See Elec. Priv. Info. Ctr., 878 F.3d at 375 n.2; DCCC v. Federal Election Comm’n,

No. 24-cv-2935, 2024 WL 4650907, at *6 (D.D.C. Nov. 1, 2024) (plaintiff must establish

standing to show likelihood of success on merits); see also Munaf, 553 U.S. at 690 (2008)

(noting that “[a] difficult question as to jurisdiction” makes success on the merits more unlikely

due to potential impediments to even reaching the merits”). Their failure to establish ripeness is

likewise fatal to their claim for injunctive relief. See AstraZeneca Pharms. LP v. Food & Drug

Admin., 850 F. Supp. 2d 230, 241–42 (D.D.C. 2012) (denying a preliminary injunction because

plaintiffs’ claim was not ripe and thus unlikely to succeed on the merits). This Court should

dismiss the Motion on these bases alone. Id.

                       a. Section 2(a) Accords with Separation-of-Powers Principles

       Should the Court find it necessary to evaluate the substance of Plaintiffs’ request, the

merits similarly fail to establish a likelihood of success. First, the President’s Executive Order

presents no infringement on separation-of-powers guarantees because it directs the EAC to “take

appropriate action,” EO § 2(a)(i), that is “consistent with applicable law,” EO § 11(b), and that

should not be construed to impair “the authority granted by law” to the agency, EO § 11(a)(i).

Courts should interpret an executive order in a manner that “gives effect to every word,” Marx v.

General Revenue Corp., 568 U.S. 371, 385 (2013), rather than in a way that gives meaning to

one passage “only at the expense of rendering the remainder . . . superfluous.” Bruesewitz v.

Wyeth LLC, 562 U.S. 223, 236 (2011).



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       The court’s conclusion in Common Cause v. Trump, 506 F. Supp. 3d 39 (D.D.C. 2020) is

instructive here. The executive order in that case directed the Secretary of Commerce to provide

the President with “information to support excluding illegal aliens, to the extent feasible, from

the enumeration used to apportion the House of Representatives.” Id. at 41. In so doing, the

executive order instructed the Secretary “to take ‘appropriate action, consistent with the

Constitution and other applicable law,’ providing information permitting the President to carry

out the policy ‘to the extent practicable.’” Id. at 47 (citation omitted). “And it end[ed] with a

general instruction that ‘[t]his memorandum shall be implemented consistent with applicable

law.’” Id. (citation omitted). The court there determined that it “[could not] ignore these

repeated and unambiguous qualifiers imposing lawfulness and feasibility constraints on

implementing the memorandum.” Id. (citation omitted). The Executive Order here similarly

instructs the EAC to follow the law, and it would be speculative to suggest that the EAC or the

President intends to do otherwise. See Bldg. & Constr. Trades Dep’t, AFL-CIO v. Allbaugh, 295

F.3d 28, 33 (D.C. Cir. 2002); Open Soc’y Just. Initiative v. Trump, 510 F. Supp. 3d 198, 215-16

(S.D.N.Y. 2021).

                       b. There Has Been no Usurping of Power from Congress or the EAC

       Plaintiffs are correct that Congress outlines the EAC’s authority to make changes to the

Federal Form, but they cannot argue that the President has ordered the EAC to deviate from the

statutory procedures required to make such changes. The Executive Order explicitly says

otherwise: “Nothing in [the Executive Order]” is to “be construed to impair or otherwise affect . .

. the authority granted by law to an executive department or agency, or the head thereof[.]” Id. §

1(a)(i).” And the Executive Order must “be implemented consistent with applicable law[.]” Id.

§ 11(b). The EAC is statutorily authorized to include a DPOC requirement if, after consultation



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with the States, the EAC deems such a requirement necessary to enable State election officials to

assess eligibility. 52 U.S.C. §§ 20508(a)(2), (b)(1).

       As the Supreme Court recognized in Arizona v. Inter Tribal Council of Ariz., Inc.

(“ITCA”), 570 U.S. 1, 17 (2013), “it would raise a serious constitutional question ‘if a federal

statute precluded a State from obtaining the information necessary to enforce its voter

qualifications.’” League of Women Voters of U.S. v. Newby (“Newby”), 838 F.3d 1, 11 (D.C. Cir.

2016). Section 9(b) of the NVRA, 52 U.S.C. § 20508(b)(1), requires the EAC to include

information shown to be “necessary.” Thus, “if the proposed change to the Federal [Form] is

‘necessary’ to enforce voter qualifications, then the NVRA and probably the Constitution require

its inclusion; if not, the NVRA does not permit its inclusion and the Constitution is silent.”

Newby, 838 F.3d at 11.

       As Plaintiffs acknowledge—and do not challenge—both the FEC and the EAC exercised

their lawful authority when they considered whether DPOC was necessary in the past. Mem. at

5. While the FEC and the EAC previously determined that the attestation regarding citizenship

was sufficient previously, the EAC is entitled to undergo the same rulemaking procedures it

previously conducted to reassess the necessity of DPOC. And the NVRA makes no express

prohibition against an agency finding that DPOC is necessary to determine eligibility. See ITCA,

570 U.S. 19, 19 n.10. There is no tension between the Executive Order and the notice-and-

comment requirement under the APA, 52 U.S.C. § 20929, or the PRA requirements for

information collection, nor is there a delegation of authority, as the EAC already resides within

the executive branch. Plaintiffs’ claim fails on its merits.




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               2. Irreparable Harm

                       a. Plaintiffs Fail to Demonstrate that Irreparable Harm Would
                          Result in the Absence of a Preliminary Injunction

       At the outset, Plaintiffs all but concede that the EAC’s compliance with federal law in

taking “appropriate action” “consistent with applicable law,” (per EO §§ 2(a)(i), 11(b)), would

not warrant preliminary injunctive relief. See Mem. at 25 (offering to withdraw PI motion).

Notwithstanding that implicit concession, Plaintiffs have failed to establish that a preliminary

injunction is necessary to prevent irreparable harm, which is alone grounds to deny their motion

for preliminary injunction.

       Plaintiffs have not shown that they will face a “certain and great,” “actual and not

theoretical” injury “of such imminence that there is a ‘clear and present’ need for equitable

relief.” Chaplaincy, 454 F.3d at 297 (emphasis in original). Plaintiffs’ claimed injury rests on

speculation about future actions the EAC may take pursuant to EO § 2(a), and future actions they

may take as a result. Mem. at 36. The requirement for imminent irreparable harm is arguably

more onerous than the requirement for Article III injury in fact, requiring the movant to “provide

proof that the harm has occurred in the past and is likely to occur again, or proof indicating that

the harm is certain to occur in the near future.” Brown v. District of Columbia, 888 F. Supp. 2d

28, 32 (D.D.C. 2012) (quoting Wis. Gas Co. v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985).

Plaintiffs have failed to do so. Instead, Plaintiffs offer “[b]are allegations” of what they

speculate “is likely to occur,” which “are of no value” in supporting a motion for preliminary

injunction. Wis. Gas Co., 758 F.2d at 674. See, e.g., Sterling Decl. ¶ 16 (“If the federal voter

registration form is changed . . .”); Miranda Decl. ¶ 20 (“If the Executive Order is implemented .

. .”); Sheoran Decl. ¶ 26 (“If the Executive Order is not implemented . . . . If, instead, the

Executive Order is implemented . . .”); Stewart Decl. ¶ 24 (“confusion about potential changes to


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the Federal Form and the impacts of the Executive Order”). Indeed, the very high standard for

granting a preliminary injunction is “quite high,” Brown, 888 F. Supp. 2d at 31 (citing

Chaplaincy, 454 F.3d at 2970), as the irreparable injury must ‘be both certain and great,’”

Brown, 888 F. Supp. 2d at 31-32 (quoting Wis. Gas Co., 758 F.2d at 674).

       Contrary to Plaintiffs’ assertion that Newby is “analogous,” “binding,” and “remarkably

like this case,” Mem. at 30-31, the factors that caused the Newby court to find irreparable harm

are not present here. The D.C. Circuit Court in Newby found that the enforcement of Federal

Form DPOC requirements on Alabama- and Georgia-based plaintiff organizations was

“foreseeable,” and therefore “unquestionably” made it more difficult for Plaintiffs to accomplish

their primary mission of registering voters. Newby, 838 F.3d at 8–9; see Mem. at 30.

       With voter registration deadlines looming, the Newby plaintiffs filed their injunctive

relief motion nearly 20 days after the EAC Executive Director made the unilateral decision to

change the Federal Form (taking effect on the form shortly thereafter). League of Women Voters

of the U.S. v. Newby, 195 F. Supp. 3d 80, 83 (D.D.C.), rev’d sub nom. League of Women Voters

of the U.S. v. Newby, 671 F. App’x 820 (D.C. Cir. 2016), and rev’d sub nom. League of Women

Voters of the U.S. v. Newby, 838 F.3d 1 (D.C. Cir. 2016). It was “[b]ecause, as a result of the”

Director’s decision, made weeks prior to the motion for injunction, that “those new obstacles

unquestionably [made] it more difficult” for the Newby plaintiffs. Newby, 838 F.3d at 9. And

the Director’s post-decision, post-implementation incorporation of DPOC on the Federal Form at

the doorstep of the upcoming federal election voter registration deadline made the Newby

plaintiffs’ harms clearly “foreseeable.” Id.

       But Plaintiffs urge this Court to put the cart before the horse. Plaintiffs’ claimed injury

first rests on speculation about future actions the EAC may take pursuant to EO § 2(a), and



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future actions they, Plaintiffs, may take as a result. Mem. 24-27; see Ex. 1. By April 24, 2025,

the EAC “shall take appropriate action” that would be “consistent with applicable law.” EO §§

2(a)(i), 11(b); see also Ex. 1, Schletz Decl. (describing process). Under that presumption of

regularity, see supra pp. 7-15, EO § 2(a) will be implemented according to its own statutes under

HAVA, NVRA, the APA, and the PRA. And irreparable harm, if any, would not spontaneously

manifest the day that a rulemaking process begins, despite Plaintiffs’ hand-wringing. Mem. 24-

27; see also Pub. Citizen Health Rsch. Grp. v. Acosta, 363 F. Supp. 3d 1, 21 (D.D.C. 2018)

(denying preliminary injunction even after agency began rulemaking process). 8

                       b. Plaintiffs cannot satisfy Newby’s organizational harm standards

       Plaintiffs seem to conflate Newby’s two-part irreparable harm standard, explained supra,

with Newby’s organizational harm standard (also two parts). Mem. at 31. Nonetheless, Plaintiffs

have not demonstrated organizational harm under Newby. An organization is harmed if (1) the

“‘actions taken by [the defendant] have ‘perceptibly impaired’ the organization’s programs’”—

the initial question being whether a defendant’s conduct has made the organization’s activities

more difficult. Newby, 838 F.3d at 8 (citation omitted). If so—to ensure that organizations

cannot engage in activities simply to create an injury—(2) “the organization must then also show

that the defendant’s actions ‘directly conflict with the organization’s mission.’” Id. (internal

citations omitted).

       Plaintiffs have expressly defeated their own claim of organizational harm under Newby

because to “prevent[] the EAC and its officers from acting pursuant to the Executive Order to

implement [DPOC],” Plaintiffs “seek injunctive relief against the EAC and its officers, not the




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 And any effect relating to Arizona’s upcoming special congressional election would be purely
speculative.
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President” and not any of the other Defendants in these consolidated cases. Mem. at 39–41.

Newby’s test requires not an analysis of a hypothetical future action, but instead an evaluation of

“actions” and “conduct” taken by “the defendant.” Newby, 838 F.3d at 8. The EAC and its

officers have not taken any of the challenged actions. Thus, this Court has no conduct or action

to review, and no basis for determining that Plaintiffs have suffered any harm under Newby’s

organizational standard.

       For the same reason, Defendants’ actions could not have “perceptively impaired”

Plaintiffs’ organizational ability to carry out missions. Id. And no Defendant’s actions have

caused a “direct conflict” with their mission or caused lost opportunities to conduct election-

related activities. Id. The Federal Form has not been changed, maintaining the status quo. And

the EAC’s challenged future action is not in direct conflict with Plaintiffs’ mission-driven

activities, as incorporating DPOC would not prohibit voter registration. Where the challenged

conduct affects an organization’s activities, but is neutral with respect to its substantive mission

(i.e., not “at loggerheads”), then it is “entirely speculative” whether the challenged practice will

actually impair the organization’s activities. Nat’l Fair Hous. All. v. Carson, 330 F. Supp. 3d 14,

42 (D.D.C. 2018) (cleaned up).

       This same reasoning also applies to the several other cases Plaintiffs cited in support,

where challenges were made not to pending, theoretical, or hypothetical actions, but instead to

current processes and existing statutes and rules being enforced. Mem. at 26-27, 26 n.25 (citing

League of Women Voters of Mo. v. Ashcroft, 336 F. Supp. 3d 998, 1005 (W.D. Mo. 2018)

(“Ashcroft”) for “collecting cases”). 9


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  League of Women Voters of Mo. v. Ashcroft, 336 F. Supp. 3d 998, 1002 (W.D. Mo. 2018)
(challenge to “current processes”); Ind. State Conf. of the NAACP v. Lawson, 326 F. Supp. 3d
646, 658 (S.D. Ind. 2018) (challenge to existing state statute providing specific voter registration


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       Among those collected cases is Greater Birmingham Ministries v. State, 161 F. Supp. 3d

1104, 1117 (N.D. Ala. 2016) (“GBM”). But that case only proves Defendants’ point. There, the

plaintiffs claimed that Alabama’s voter ID law forced them to “divert significant amounts of

their scarce resources from their regular activities to protecting the rights of those affected

voters.” GBM, 161 F. Supp. 3d at 1117. The State’s voter ID law, which requires “some form of

photo identification before casting a ballot,” id. at 1107, had been implemented and enforced for

more than a year prior to the plaintiffs’ motion for preliminary injunction. Nonetheless, the

district court concluded that the plaintiffs in that case failed to demonstrate irreparable injury

because their supposed harms “amount[ed] to no more than a loss of money and time, which is

generally not irreparable harm in the preliminary injunction context.” Id. Thus, the district court

denied the plaintiffs’ preliminary injunction motion. If the GBM plaintiffs could not show

irreparable harm in challenging an existing, implemented, and enforced voter ID law, the Party

Organizations certainly cannot demonstrate irreparable harm stemming from an executive order

which has not yet been implemented by agencies which have not yet acted. If the GBM plaintiffs

failed to show irreparable injury, so do the Plaintiffs in this case. Here, Plaintiffs’ argument for

irreparable injury is even weaker. Not only is their alleged injury mainly in the vein of a loss of

“resources,” Mem. 14–18, but they also cannot even show that those injuries are likely or caused




procedures); Action NC v. Strach, 216 F. Supp. 3d 597, 610 (M.D.N.C. 2016) (challenge to
alleged failure to comply with existing statute’s procedures (NVRA)); Project Vote, Inc. v.
Kemp, 208 F. Supp. 3d 1320,1332 (N.D. Ga. 2016) (challenging alleged failure to comply with
disclosure requirements of existing statute (NVRA)); N.C. State Conf. of the NAACP v. N.C.
State Bd. of Elections, No. 16-cv-1274, 2016 WL 6581284 (M.D.N.C. Nov. 4, 2016)
(challenging voter removal under NVRA); League of Women Voters of Fla. v. Browning, 863 F.
Supp. 2d 1155, 1157 (N.D. Fla. 2012) (challenging state statute and rule that regulated
organizations that conduct voter-registration drives); Fla. State Conf. of Branches & Youth Units
of the NAACP v. Byrd, 680 F. Supp. 3d 1291, 1299 (N.D. Fla. 2023) (challenge to existing state
statute with clear requirements and effective date of those requirements).
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by the Executive Order. Unlike the Alabama law, the Executive Order has not even begun to be

implemented.

                       c. Any harm here would not be “beyond remediation”

        The speculative harm feared by Plaintiff has not come to pass. Indeed, there has been no

action and there is no harm, much less imminent harm. Necessarily, there is no harm that is

“beyond remediation.” Chaplaincy, 454 F.3d at 297. Final agency actions are reviewable in

district court under the Administrative Procedure Act’s general judicial review provision. See 5

U.S.C. § 704. Plaintiffs fear injury resulting from a future adverse administrative action, e.g.,

“harder to register voters” from a future DPOC requirement on the Federal Form, Mem. 24. But

that EAC action would be subject to further review under the APA and thus their speculative

harms are “redressable” because no action has been made and nothing has been implemented.

Chaplaincy, 454 F.3d at 298. Plaintiffs therefore do not allege an irreparable harm. Id. It is “far

too speculative to warrant preliminary injunctive relief.” Id.

       While Plaintiffs could argue that “complying with a regulation later held invalid almost

always produces the irreparable harm of nonrecoverable compliance costs,” Thunder Basin Coal

Co. v. Reich, 510 U.S. 200, 220–21 (1994) (Scalia, J., Thomas, J., concurring in part) (emphasis

in original), that’s just not the situation here. In this case, there is no comparable regulation

because no action has been taken on the Executive Order. Cf. Newby, 838 F.3d at 8–9 (finding

irreparable harm after the decision to change Federal Form had already occurred, and the change

already implemented). Plaintiffs cannot complain that they have been forced to expend costs,

Mem. 19, to comply with a non-existent regulation. Nor have they adequately explained why

“present circumstances” warrant their preemptive diversion of resources to address a speculative

harm. Gilliard v. McWilliams, 315 F. Supp. 3d 402, 417 (D.D.C. 2018). And so Plaintiffs fail to



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show that such expenditures “constitute such an extraordinary matter,” id., that can be resolved

with only an “extraordinary and drastic” remedy. Munaf, 553 U.S. at 689–90. That logic

therefore must also apply to anticipated expenditure of resources.

       Moreover, in “fail[ing] to establish Article III standing because they have failed to

establish an injury in fact,” see supra, “[P]laintiffs have not suffered the higher threshold of

‘irreparable harm’ that is required for a preliminary injunction.” Nat’l Fair Hous. All. v. Carson,

330 F. Supp. 3d 14, 63 (D.D.C. 2018) (citing Newby, 838 F.3d at 7).

       For the foregoing reasons, Plaintiffs do not make a showing of irreparable harm, and the

Motion should be denied. See Chaplaincy, 454 F.3d at 297; see also Save Jobs USA v. U.S.

Dep’t of Homeland Sec., 105 F. Supp. 3d 108, 112 (D.D.C. 2015) (“[T]he movant must always

show irreparable harm or injury, and if a party makes no showing of irreparable injury, the court

may deny the motion for injunctive relief without considering the other factors.”).

               3. Balance of Equities/Public Interest
       The balance of the equities and public interest weigh decidedly against injunctive relief.

These last two factors “merge when the Government is the opposing party.” Nken v. Holder, 556

U.S. 418, 435 (2009); see also Pursuing Am.’s Greatness v. Fed. Election Comm’n, 831 F.3d

500, 511 (D.C. Cir. 2016). A court analyzing the two factors together “must carefully balance

the equities by weighing the harm to the moving party and the public if there is no injunction

against the harm to the government and the public if there is.” Hanson v. Dist. of Columbia, 120

F.4th 223, 246 (D.C. Cir. 2024) (citing Newby, 838 F.3d at 12–14).

       There is a “fundamental” public interest in “maintaining our constitutional Republic” by

ensuring that federal elections are “[f]ree, fair, and honest,” and “unmarred by fraud, errors, or

suspicion,” EO § 1, consistent with federal prohibitions against noncitizen voting or registration,

see, e.g., U.S. Const. amend. XXVI; 18 U.S.C. § 611 (voting by aliens). “Confidence in the

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integrity of our electoral processes is essential to the functioning of our participatory

democracy.” Purcell v. Gonzalez, 549 U.S. 1, 4 (2006). That integrity is what the Executive

Order seeks to preserve. See EO § 1. “Voter fraud drives honest citizens out of the democratic

process and breeds distrust of our government,” and “[v]oters who fear their legitimate votes will

be outweighed by fraudulent ones will feel disenfranchised.” Id. Further, separation-of-powers

concerns do not tip the scale of equities in Plaintiffs’ favor because EAC is tasked to “take

appropriate action,” EO § 2(a)(i)), “consistent with applicable law,” EO § 11(b).

       Comparatively, Plaintiffs’ interest is minimal, because they seek to prevent putative harm

based on speculation about a series of future contingencies.

           C. Plaintiffs’ Claims Lack Prudential Ripeness Necessary for Judicial Review

       Even if this Court finds that Plaintiffs have standing, their request for preliminary

injunctive relief should be rejected as prudentially unripe without reaching the merits. Church v.

Biden, 573 F. Supp. 3d 118, 135 (D.D.C. 2021) (“Even if a case is constitutionally ripe” under

Article III standing, “there may still be prudential reasons for refusing to exercise jurisdiction.”)

(cleaned up). “The ripeness doctrine requires that the federal courts reserve judicial power for

resolution of concrete and fully crystalized disputes.” In re Al-Nashiri, 47 F.4th 820, 826 (D.C.

Cir. 2022) (cleaned up). This principle “prevent[s] the courts, through avoidance of premature

adjudication, from entangling themselves in abstract disagreements.” Nat’l Park Hosp. Ass’n v.

Department of the Interior, 538 U.S. 803, 807 (2003) (quotation marks omitted). To determine

whether a claim satisfies prudential ripeness, courts consider: (1) the “fitness of the issues for

judicial decision”; and (2) the “extent to which withholding a decision will cause hardship to the

parties.’” Church, 573 F. Supp. at 135 (quoting Am. Petroleum Inst. v. E.P.A., 683 F.3d 382, 387

(D.C. Cir. 2012)). Assessing whether an issue is “fit” for adjudication requires courts to consider



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whether the issue “is purely legal, whether consideration of the issue would benefit from a more

concrete setting, and whether the agency’s action is sufficiently final.” Id. (citation omitted).

       Plaintiffs fail to establish the first prong for prudential ripeness because no concrete legal

dispute fit for adjudication exists here. At the outset, EO § 2(a) states that the EAC “shall take

appropriate action” to require documentary proof of citizenship in the Federal Form within 30

days of the Executive Order. See EO § 2(a). The Executive Order’s direction that the EAC’s

action be “appropriate” underscores the President’s intention that said action be conducted

lawfully and in accordance with the agency’s regular rulemaking procedures set forth by statute.

The “presumption of regularity,” which requires courts to presume that public officers have

“properly discharged their official duties” absent evidence to the contrary, supports this reading

of EO § 2(a). United States v. Chem. Found., 272 U.S. 1, 14–15 (1926); see also Am. Fed’n of

Gov’t Emps., AFL-CIO v. Reagan, 870 F.2d 723, 727 (D.C. Cir. 1989) (applying presumption to

President).

       Under that presumption, EO § 2(a) will be implemented according to its own statutes

under HAVA, NVRA, the APA, and the PRA. But, importantly, as of the date of this filing,

many steps in the process to change a form have not been completed. Ex. 1, Schletz Decl.

(describing process). The EAC needs to prepare a proposed, updated regulation and approve it

by a vote of at least three Commissioners. Id. ¶ 2-3; see also 52 U.S.C. § 20928. There are a

number of additional steps that need to be completed after the regulation has received approval,

such as going through the APA’s required notice-and-comment process for rulemaking and

consulting with chief election officers for the states. Id. ¶ 4-5; see also 5 U.S.C. § 553; 52

U.S.C. § 20508(a)(1)-(2). Three Commissioners would need to approve the issuance of the new

form. Id. ¶ 6; see also 52 U.S.C. § 20928. And finally, the new form must be submitted as an



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information collection to the Director of the Office of Management and Budget for approval. Id.

¶ 7.

        In sum, EO § 2(a) has not yet led to any changes to the Federal Form or any other

substantive measures affecting voter registration, nor is there any indication that any such

changes are imminent. As such, “this is plainly a case in which further development of the

factual record is required” to determine whether Plaintiffs are entitled to relief for the harm they

allege. Church, 573 F. Supp. 3d at 136. “The absence of any factual record” forming the basis

for any violation of HAVA, NVRA, APA, or PRA “hamstrings the Court’s ability to evaluate the

merits of the Complaint’s constitutional and statutory claims.” Id.

        Given that the EAC has not yet taken any final agency action, Plaintiffs likewise fail to

show that “delayed judicial review would cause them immediate and significant hardship” to

satisfy the second prong for prudential ripeness. Id. (citing Finca Santa Elena, Inc. v. U.S. Army

Corps of Eng’rs, 873 F. Supp. 2d 363, 371 (D.D.C. 2012)). Premature adjudication of the EAC’s

actions in the way Plaintiffs desire “denies the agency an opportunity to . . . apply its expertise”

in implementing the DPOC requirement consistent with its regular rulemaking procedures. See

Finca Santa Elena, Inc., 873 F. Supp. 2d at 369 (citation omitted).

        Although Plaintiffs rely heavily on Newby, factual distinctions between the two cases

show just how unripe the present circumstances are. In Newby, the EAC’s executive director—

not the Commission itself—approved three States’ requests to add a DPOC requirement to their

state-specific instructions. Newby, 838 F.3d at 6. Three days after his approval, the modified

version of the state-specific instructions went into effect. Id. While Plaintiffs correctly note that

it was unclear whether two of the states were enforcing their proof-of-citizenship laws, unlike in

the present context, the executive director took a unilateral action contrary to statutory



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procedures and thus ripe for the court’s review. No such actions have occurred in the present

context. For these reasons, and those set forth further above on irreparable harm, Plaintiffs’

challenges to EO § 2(a) are not ripe for adjudication.

           D. The Court Must Require a Bond if it Issues a Preliminary Injunction

       “The court may issue a preliminary injunction . . . only if the movant gives security in an

amount that the court considers proper to pay the costs and damages sustained by any party

found to have been wrongfully enjoined or restrained.” Fed. R. Civ. Pro. 65(c). District courts

have “broad discretion . . . to determine the appropriate amount of an injunction bond.” DSE,

Inc. v. United States, 169 F.3d 21, 33 (D.C. Cir. 1999). Accordingly, Defendants request that

this court require a bond if it grants a preliminary injunction.

V.     CONCLUSION

       For these reasons, Defendants respectfully request that this Court deny Plaintiffs’ Motion

for Preliminary Injunction.

Date: April 14, 2025                           Respectfully Submitted,

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